          Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 1 of 6



     SAMUEL LIVERSIDGE, SBN 180578                     Benjamin Heikali (SBN 307466)
 1   sliversidge@gibsondunn.com                        E-mail: bheikali@faruqilaw.com
     LAUREN M. BLAS, SBN 296823                        Joshua Nassir (SBN 318344)
 2   lblas@gibsondunn.com                              E-mail: jnassir@faruqilaw.com
     JILLIAN N. LONDON, SBN 319924                     FARUQI & FARUQI, LLP
 3   jlondon@gibsondunn.com                            10866 Wilshire Boulevard, Suite 1470
     GIBSON, DUNN & CRUTCHER LLP                       Los Angeles, CA 90024
 4   333 South Grand Avenue                            Telephone: (424) 256-2884
     Los Angeles, CA 90071-3197                        Facsimile: (424) 256-2885
 5   Telephone: 213.229.7000
     Facsimile: 213.229.7520                           Bonner C. Walsh (pro hac vice)
 6                                                     WALSH P.L.L.C.
     Attorneys for Defendant HP INC.                   1561 Long Haul Road
 7                                                     Grangeville, ID 83530
                                                       Telephone: (541) 359-2827
 8                                                     Facsimile: (866) 503-8206
 9
                                                       Attorneys for Plaintiffs
10
11
12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                                         Case No.: 3:20-cv-02450-VC
14   JOHN CEPELAK, JUDY CHAMBERS, JIM
     DICKINSON and MARCIA NUPP, individually             JOINT STIPULATION TO
15   and on behalf of all others similarly situated,     REQUEST ORDER CHANGING
                                                         TIME PURSUANT TO CIVIL L.R. 6-
16                                                       2
                     Plaintiff,
17                                                       SAC filed: July 12, 2021
18                     v.
19
     HP INC.,
20
21                   Defendant.

22
23
24
25
26
27
28

                  JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
            Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 2 of 6




 1          Pursuant to N.D. Civil Local Rule 6-2, Plaintiffs John Cepelak, Judy Chambers, Jim

 2 Dickinson, and Marcia Nupp (“Plaintiffs”) and Defendant HP Inc. (“Defendant”) (collectively, the
 3 “Parties”) hereby stipulate and jointly request, through their counsel of record, that the Court adopt
 4 the proposed case schedule below, which proposes a four-month extension on all class certification
 5 deadlines. The Parties believe this request is necessary and justified given the technological aspects
 6 of this case, which have required extensive and ongoing discussions regarding the Parties’ protective
 7 order and the search, review, and production of documents.
 8          As such, the Parties hereby stipulate and agree as follows:

 9          WHEREAS, on April 10, 2020, the now-deceased Plaintiff Christina Rose filed the initial

10 Class Action Complaint against Defendant in the United States District Court for the Northern District
11 of California. (ECF No. 1);
12          WHEREAS, on July 13, 2020, Christina Rose filed the amended First Amended Class Action

13 Complaint, adding an alleged violation of the Song-Beverly Consumer Warranty Act, Cal Civ. Code
14 § 17900, as a cause of action. (ECF No. 34);
15          WHEREAS, on December 29, 2020, the Court issued an Order Granting in Part and Denying

16 in Part Motion to Dismiss. (ECF No. 46);
17          WHEREAS, on February 3, 2021, the Court issued a Case Schedule As Modified, setting June

18 18, 2021 as the Last Day to Amend Pleadings and setting the Close of Non Expert Fact Discovery for
19 October 29, 2021. (ECF No. 56 at 1);
20          WHEREAS, on February 26, 2021, Plaintiff filed the Notice of Plaintiff Christina Rose’s

21 Death, informing Defendant and the Court that Christina Rose, the named Plaintiff in this action, has
22 died, and that Plaintiff’s counsel would move for substitution pursuant to Fed. R. Civ. P. Rule 25(a)(1)
23 (ECF No. 57);
24          WHEREAS, on June 18, 2021, the Parties jointly stipulated to permit the amendment of the

25 First Amended Class Action Complaint with the currently operative Second Amended Complaint and
26 further requested a schedule for responsive pleadings thereafter. (ECF No. 65);
27
28                                                     1
                     JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
            Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 3 of 6




 1          WHEREAS, on July 8, 2021, this Court granted the June 18 joint stipulation, permitting the

 2 filing of the Second Amended Complaint and adopting the schedule stipulated by the parties with
 3 modification. (ECF No. 67);
 4          WHERAS, on July 12, 2021, Plaintiffs filed the operative Second Amended Complaint, which

 5 added three other individuals as proposed class representatives for three new state subclasses and
 6 their respective state law claims. (ECF No. 69 to 69-1);
 7          WHERAS, on July 19, 2021, Defendant filed its Motion to Dismiss Plaintiffs’ Second

 8 Amended Class Action Complaint. (ECF No. 70);
 9          WHEREAS, on November 15, 2021, this Court issued its Order Denying In Part and Granting

10 In Part Motion To Dismiss Second Amended Complaint. (ECF No. 79);
11          WHEREAS, as is further set out in the Declaration of Benjamin Heikali, the interests of justice

12 and judicial efficiency will be furthered by extending the Court’s Case Schedule by 120 days, given
13 that the technological aspects of this case have caused the Parties to engage in extensive discussions
14 to finalize a mutually agreeable protective order as well as an agreement on the search, review, and
15 production of documents. Due to the unforeseen difficulties in negotiating a protective order and
16 mutually agreeing on the scope and details of the production of documents in this action, Plaintiffs
17 are in possession of only 37 pages of documents and Defendant is in possession of only 39 documents
18 totaling 119 pages. While the Parties have nearly finalized these issues and are ready to proceed fully
19 with discovery in the coming weeks, the Parties are unable to meet the current deadlines imposed in
20 this Action and request an extension.
21          NOW, THEREFORE, the Parties, by and through their respective undersigned counsel,

22 hereby stipulate to the following schedule, which provides for a four-month extension on the dates
23 provided by the Court’s July 8, 2021 Order:
24          1. The date set for the Close of Non-Expert Fact Discovery has been moved from February

25              28, 2022 to June 28, 2022;

26          2. The Deadline for Plaintiffs to disclose the identity of their Class Certification Expert has
27              been moved from January 10, 2022 to May 10, 2022;

28                                                    2
                    JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
     Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 4 of 6




 1   3. The Deadline for Defendant to disclose the identity of its Class Certification Expert has

 2        been moved from February 8, 2022 to June 8, 2022;

 3   4. The deadline for Plaintiffs’ Motion for Class Certification and Class Certification Expert

 4        Reports have been moved from March 23, 2022 to July 25, 2021;

 5   5. The deadline for Defendant’s Opposition to Class Certification and Class Certification

 6        Expert Reports have been moved from May 13, 2022 to September 13, 2022;

 7   6. The deadline for Plaintiffs’ Reply for Class Certification and Rebuttal Class Certification

 8        Expert Reports have been moved from June 10, 2022 to October 10, 2022;

 9   7. The Hearing on Motion for Class Certification has been moved from June 23, 2022 at 2:00

10        PM to October 27, 2022 at 2:00 PM;

11   8. The Joint Case Management Statement has been moved from July 6, 2022 to November

12        7, 2022; and

13   9.   The Case Management Conference has been moved from July 13, 2022 at 2:00 PM to

14        November 16, 2022 at 2:00 PM.

15
16
17
18
19
20
21
22
23
24
25
26
27
28                                             3
              JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
           Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 5 of 6




 1          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that all signatories

 2 have concurred in its filing.
 3
 4
     Dated: January 7, 2022                     Faruqi & Faruqi, LLP
 5
                                                By: /s/ Benjamin Heikali
 6                                                  Benjamin Heikali
                                                    Attorney for Plaintiffs
 7
 8                                              Gibson, Dunn & Crutcher LLP
 9                                              By: /s/ Samuel Liversidge
                                                    Samuel Liversidge
10                                                  Attorney for Defendant
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                    4
                    JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
        Case 3:20-cv-02450-VC Document 85 Filed 01/07/22 Page 6 of 6




 1   SO ORDERED.                    ORDER
 2
 3
 4                                    Hon. Vince Chhabria
 5
 6                                    Date: _____________________________
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                       5
              JOINT STIPULATION TO REQUEST ORDER CHANGING TIME
